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                                  Case 5:15-cv-02050-VAP-SP Document 13 Filed 08/28/18 Page 1 of 1 Page ID #:44

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                                                                     UNITED STATES DISTRICT COURT
                                  2                                 CENTRAL DISTRICT OF CALIFORNIA

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                                  5       Elwood Staudinger,

                                  6                                   Plainti,       15-cv-02050 VAP (SPx)
                                  7                         v.
                                                                                              ORDER DISMISSING CASE
                                  8       Steven Hunter, et al.,

                                  9                                Defendants.

                                 10
Central District of California
United States District Court




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                                           On August 16, 2018, the Court ordered Plainti to show cause, in writing, no
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                                      later than August 23, 2018 why the Complaint should not be dismissed without
                                 13   prejudice for failure to prosecute. Plainti failed to respond by the deadline to the
                                      Court’s Order. Accordingly, the Court ORDERS this case DISMISSED
                                 14   WITHOUT PREJUDICE.
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                                          IT IS SO ORDERED.
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                                 18   Dated:      8/28/18
                                                                                              Virginia A. Phillips
                                 19                                                    Chief United States District Judge
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